
ORDER
Based upon the Court’s concurrence with the opinion of the Committee on Profes*315sional Responsibility that the crime of which the attorney was convicted adversely reflects on the attorney’s moral fitness to practice law;
IT IS ORDERED BY THE COURT, that Arnold J. Rosenthal be and he is hereby suspended from the practice of law and said attorney’s license to practice is hereby suspended.
It is further ordered that the Committee institute the necessary disciplinary proceedings against Arnold J. Rosenthal, seeking his disbarment or other remedy deemed appropriate, all in keeping with Article XV of the Articles of Incorporation of the Louisiana State Bar Association.
LEMMON, J., not present.
